Case 2:13-cv-14112-DLG Document 10 Entered on FLSD Docket 06/27/2013 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                              FT. PIERCE DIVISION
                      Case No. 13-14112-CIV-GRAHAM/LYNCH

  PATRICIA W. WATSON,

        Plaintiff,

  vs.

  MEDICREDIT, INC.,

        Defendant.
                                  /

                                      ORDER

        THIS CAUSE comes before the Court upon the parties’ Joint

  Stipulation for Dismissal With Prejudice [D.E. 9].

        THE   COURT   has   considered   the    Stipulation,   the   pertinent

  portions of the record, and is otherwise fully advised in the

  premises.    Accordingly, it is hereby

        ORDERED AND ADJUDGED that this action is DISMISSED WITH

  PREJUDICE.

        DONE AND ORDERED in Chambers at Miami, Florida, this 27th day

  of June, 2013.

                                              s/ Donald L. Graham
                                              DONALD L. GRAHAM
                                              UNITED STATES DISTRICT JUDGE


  cc:   Counsel of Record
